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   Fill in this information to identify your case:


   Debtor 1             Angela                      M.                 Morgan
                        First Name              Middle Name               Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name               Last Name


   United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                      1104us
   Case number           20-65889                                                                            ta,Bank
                                                                                                                 ce iZIPtcy 00
   (If known)                                                                                                                          Check if this is an
                                                                                                      44)/         6t'4 4T1            amended filing
                                                                                                4 4   Re9i ° , 7 20 20
                                                                                                           44
                                                                                                                 Cl4k
 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                  04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        d Married
        U Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

             No
        U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:                                          Dates Debtor 1     Debtor 2:                                          Dates Debtor 2
                                                                   lived there                                                           lived there


                                                                                      U Same as Debtor 1                                U Same as Debtor. 1

                                                                   From                                                                    From
                 Number              Street                                              Number Street
                                                                  To                                                                       To




                 City                         State ZIP Code                             City                    State ZIP Code

                                                                                      U Same as Debtor 1                                U Same as Debtor 1

                                                                   From                                                                    From
                 Number              Street                                              Number Street
                                                                  To                                                                       To




                City                          State ZIP Code                             City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       (g No
        U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2: Explain the Sources of Your Income

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Debtor 1        Angela                        M.                       Morgan                          Case number Of known)   20-65889
                First Name   Middle Name           Last Name




 4. Did you have any Income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     •     No
     U Yes. Fill in the details.

                                                          Debtor 1                                               Debtor 2

                                                          Sources of Income         Gross Income                 Sources of Income         Gross Income
                                                          Check all that apply.     (before deductions and       Check all that apply.     (before deductions and
                                                                                    exclusions)                                            exclusions)

                                                          U Wages, commissions,                                  U Wages, commissions,
           From January 1 of current year until
                                                            bonuses, tips                                          bonuses, tips
           the date you filed for bankruptcy:
                                                          U Operating a business                                  U Operating a business

                                                          U Wages, commissions,                                  U Wages, commissions,
           For last calendar year:
                                                            bonuses, tips                                          bonuses, tips
           (January 1 to December 31,                     U Operating a business                                  U Operating a business
                                           YYYY


                                                           U Wages, commissions,                                  U Wages, commissions,
           For the calendar year before that:
                                                             bonuses, tips                                          bonuses, tips
           (January 1 to December 31,                      U Operating a business                                 U Operating a business
                                           YYYY



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      if No
      U Yes. Fill in the details.
                                                           Debtor 1,                                               Debtor 2

                                                          Sources of income             Gross Income from          Sources of Income       Gross income from
                                                          Describe below.               each source                Describe below.         each source
                                                                                        (before deductions and                             (before deductions and
                                                                                        exclusions)                                        exclusions)




            From January 1 of current year until                                    $                                                      $
            the date you filed for bankruptcy:                                      $                                                      $
                                                                                    $                                                      $


            For last calendar year:                                                 $                                                      $

            (January Ito December 31,              )                                $                                                      $
                                           YYYY
                                                                                    $                                                      $




            For the calendar year before that:                                      $                                                      $

            (January 1 to December 31,             )                                $                                                      $
                                           YYYY
                                                                                    $                                                      $




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Debtor 1       Angela                             M.                       Morgan                     Case number (if known)   20-65889
               First Name       Middle Name               Last Name



 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     U No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               CI   No. Go to line 7.

               EI Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                       total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                       child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               *Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     0     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               0     No. Go to line 7.

               O     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                             Dates of   Total amount paid         Amount you still owe    Was this payment for...
                                                                             payment


                                                                                                                                          0 Mortgage
                       Creditor's Name
                                                                                                                                          CI Car
                       Number    Street                                                                                                   Cl Credit card
                                                                                                                                          0 Loan repayment
                                                                                                                                          0 Suppliers or vendors
                       City                   State            ZIP Code                                                                   CI Other


                                                                                                                                          0 Mortgage
                       Creditor's Name
                                                                                                                                          0 Car
                       Number    Street                                                                                                   U Credit card
                                                                                                                                          U Loan repayment
                                                                                                                                          0 Suppliers or vendors
                                                                                                                                          El Other
                       City                   State            ZIP Code




                                                                                                                                          0 Mortgage
                       Creditor's Name
                                                                                                                                          0 Car
                       Number    Street                                                                                                   GI Credit card
                                                                                                                                          0 Loan repayment
                                                                                                                                          0 Suppliers or vendors
                       City                   State            ZIP Code
                                                                                                                                          CI Other



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Debtor         Angela                                M.                Morgan                         Case number (If MOW,*   20-65889
                   First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     g    No
          Yes. List all payments to an insider.
                                                                         Dates of     Total amount       Amount you still     Reason for this payment
                                                                         payment      paid               owe


           Insider's Name



           Number         Street




            City                                  State   ZIP Code




            Insider's Name


            Number        Street




            City                                  State   ZIP Code



  8. Within 1 year before you flied for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     El   No
          Yes. List all payments that benefited an insider.
                                                                        Dates of       Total amount      Amount you still     Reason for this payment
                                                                        payment        paid              owe                  Include creditor's name


            Insider's Name



            Number         Street




            City                                  State    ZIP Code




            Insider's Name



            Number         Street




            City                                  State    ZIP Code




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Debtor        Angela                            M.                    Morgan                           Case number (Ifknown)    20-65889
               First Name         Wade Name           Last Name




  Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     EiNo
     U Yes. Fill in the details.
                                                             Nature of the case                   Court or agency                              Status of the case
                                                                    .           _


          Case title                                                                                                                           U Pending
                                                                                                'Court Name
                                                                                                                                               U On appeal
                                                                                                Number     Street                              U Concluded

          Case number
                                                                                                City                    State    ZIP Code




          Case title                                                                                                                           U Pending
                                                                                                Court Name
                                                                                                                                               U On appeal
                                                                                                Number     Street                              U Concluded

            Case number
                                                                                                City                    State    ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     111 No. Go to line 11.
     U Yes. Fill in the information below.

                                                                       Describe the property                                      Date       Value of the property



                Creditor's Name



                Number      Street                                     Explain what happened

                                                                       U    Property was repossessed.
                                                                       •    Property was foreclosed.
                                                                       U    Property was garnished.
                City                          State ZIP Code           U    Property was attached, seized, or levied.
                                               .    .      _

                                                                       Describe the property                                      Date        Value of the propertl




                Creditor's Name



                Number      Street
                                                                       Explain what happened

                                                                       U Property was repossessed.
                                                                       U    Property was foreclosed.
                                                                       U Property was garnished.
                City                          State   ZIP Code
                                                                        U Property was attached, seized, or levied.



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Debtor 1          Angela                            M.                   Morgan                          Case number (ir known)   20-65889
                  First Name     Middle Name             Last Name




 ,11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
     El No
     U Yes. Fill in the details.

                                                                 Describe the action the creditor took                             Date action          Amount
                                                                                                                                   was taken
           Creditors Name


                                                                                                                                                    $
           Number      Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX—


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
     ki No
     U Yes

  Part 5:         List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     El No
     U Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                                Dates you gave             Value
            per person                                                                                                             the gifts



                                                                                                                                                         $
           Person to Whom You Gave the Gift


                                                                                                                                                         $


           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                                Dates you gave         Value
           per person                                                                                                              the gifts


                                                                                                                                                          $
           Person to Whom You Gave the Gift


                                                                                                                                                          $


           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


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Debtor 1           Angela                          M.                       Morgan                              Case number (if knave,)   20-65889
                   First Name      Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

       No
     O Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                    Describe what you contributed                                           Date you          Value
            that total more than $600                                                                                                      contributed




           Charity's Name




           Number       Street




           City           State      ZIP Code




  Part 6:          List Certain Losses

  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     Er No
     O Yes. Fill in the details.

            Describe the property you lost and                      Describe any insurance coverage for the loss                           Date of your      Value of property
            how the loss occurred                                                                                                          loss              lost
                                                                    Include the amount that insurance has paid. List pending Insurance
                                                                    claims on line 33 of Schedule A/B: Property.




Mil               List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ki No
     O Yes. Fill in the details.

                                                                    Description and value of any property transferred                      Date payment or   Amount of payment
                                                                                                                                           transfer was
            Person Who Was Paid                                                                                                            made


            Number        Street




            City                        State    ZIP Code



            Email or website address

            Person Who Made the Payment, if Not You



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Debtor 1          Angela                           M.                      Morgan                           Case number (((known)   20-65889
                  First Name      Middle Name              Last Name



                                                                                                                                    • -•-•--•-_-.
                                                                   Description and value of any property transferred                  Date payment or     Amount of
                                                                                                                                      transfer was made   payment

           Person Who Was Paid



           Number       Street




           City                        State    ZIP Code




           Email or website address


           Person Who Made the Payment, I Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

     if No
     U Yes. Fill in the details.
                                                                   Description and value of any property transferred                  Date payment or     Amount of payment
                                                                                                                                      transfer was
                                                                                                                                      made
           Person Who Was Paid



           Number        Street




           City                         State   ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
     Ef No
     U Yes. Fill in the details.
                                                                   Description and value of property         Describe any property or payments received      Date transfer
                                                                   transferred                               or debts paid in exchange                       was made

           Person Who Received Transfer



           Number        Street




           City                         State   ZIP Code


           Person's relationship to you


           Person Who Received Transfer



           Number        Street




           City                         State   ZIP Code

           Person's relationship to you

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                First Name       Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     El No
     U Yes. Fill in the details.

                                                                Description and value of the property transferred                                            Date transfer
                                                                                                                                                             was made


           Name of trust




  Part 8: List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     •     No
     U Yes. Fill in the details.

                                                                  Last 4 digits of account number    Type of account or            Date account was       Last balance before
                                                                                                     Instrument                    closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred

            Name of Financial Institution
                                                                  )0(XX—                             El Checking

            Number Street                                                                            U Savings
                                                                                                     El Money market
                                                                                                     El Brokerage
            City                       State   ZIP Code                                              U Other


                                                                  XXXX—                              El Checking
            Name of Financial Institution
                                                                                                     U Savings

            Number Street                                                                            U Money market
                                                                                                     El Brokerage
                                                                                                     El Other
            City                       State   ZIP Code

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     Ef No
     El Yes. Fill in the details.
                                                                  Who else had access to it?                     Describe the contents                           Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                 CI No
            Name of Financial Institution                                                                                                                            Yes
                                                                Name

            Number Street                                       Number Street


                                                                City        State     ZIP Code
            City                       State   ZIP Code


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                   First Name      Middle Name              Last Name



22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    El No
       Yes. Fill in the details.
                                                  Who else has or had access to it?         Describe the contents                                                 Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                   a No
           Name of Storage Facility                                Name
                                                                                                                                                                     Yes

            Number        Street                                   Number    Street


                                                                   CityState ZIP Code

            City                        State    ZIP Code



                     Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
      Er No
      O Yes. Fill in the details.
                                                                   Where Is the property?                                    Describe the property             Value


            Owner's Name

                                                                  Number    Street
            Number        Street



                                                                  City                           State     ZIP Code
            City                        State     ZIP Code


  Part 10:            Clive Details About Environmental information

  For the purpose of Part 10, the following definitions apply:
  •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.
  ▪   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      El No
      13 Yes. Fill in the details.
                                                                   Governmental unit                           Environmental law, If you know It              Date of notice



           Name of site                                           Governmental unit


           Number       Street                                    Number    Street


                                                                  City                  State   ZIP Code



           City                        State     ZIP Code




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Debtor 1          Angela                               M.                      Morgan                                  Case number   it knovo
                                                                                                                                                20-65889
                      First Name       Middle Name          Last Name




  25. Have you notified any governmental unit of any release of hazardous material?

     Er No
     ▪ Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice



               Name of site                                       Governmental unit


               Number Street                                      Number       Street


                                                                  City                  State    ZIP Code

               City                         State    ZIP Code


  26. Have you been a              party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     RI No
     U Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                        Court or agency                                 Nature of the case
                                                                                                                                                                         case

           Case title
                                                                                                                                                                         U Pending
                                                                        Court Name
                                                                                                                                                                         U   On appeal

                                                                        Number Street                                                                                    O   Concluded


           Case number                                                  City                    State   ZIP Code


  Part 11:               Give Details About Your Business or Connections to Any Business
  27. Within 4 years      before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           LI     A sole proprietor or self-employed In a trade, profession, or other activity, either full-time or part-time
           •      A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U      A partner in a partnership
           O      An officer, director, or managing executive of a corporation
           •      An owner of at least 6% of the voting or equity securities of a corporation

      g No. None of the above applies. Go to Part 12.
      • Yes. Check all that apply above and fill in the details below for each business.
                                                                        Describe the nature of the business                            Employer identification number
                                                                                                                                       Do not Include Social Security number or ITIN.
               Business Name

                                                                                                                                       EIN:
               Number Street
                                                                        Name of accountant or bookkeeper                               Dates business existed


                                                                                                                                       From                To
               City                          State   ZIP Code
                                                                        Describe the nature of the business                            Employer Identification number
                                                                                                                                       Do not Include Social Security number or ITIN.
               Business Name

                                                                                                                                       EIN:
               Number        Street
                                                                        Name of accountant or bookkeeper                               Dates business existed



                                                                                                                                       From                To
               City                          State   ZIP Code

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                  First Name     Middle Name           Last Name


                                                                                                                                Employer Identification number
                                                               Describe the nature of the business
                                                                                                                                Do not include Social Security number or ITIN.
           Business Name
                                                                                                                                 EIN:

           Number Street
                                                               Name of accountant or bookkeeper                                  Dates business existed



                                                                                                                                 From               To
           City                         State   ZIP Code


                                                       -•--                                           -µ-3-----•---ap•-                          ----,-.--•_
  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     U No
     U Yes. Fill in the details below.

                                                               Date Issued



           Name                                                    MM / DD / YYYY


           Number Street




           City                         State   ZIP Code




                   Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 162, 1341, 1519, and 3571.



       X    fin                                                                     X
           S natu         of Debtor 1                                                   Signature of Debtor 2


           Date    0 c (0 5(VD                                                          Date
      Did,ou attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

     All No
       U    Yes


      Did ou pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      U Yes. Name of person                                                                                            . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                         Declaration, and Signature (Official Form 119).




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                                                                           IMMTTIVERM1111                                                                      R - set
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Dattor
                      Angela                                          Morcian
                      First Name                  Middle Name               Last Name

Debtor 2
(Spouse, if filing)   First Name                  Middle Name               Last Name


United States Bankruptcy Court for the: Northern District of Georgia
                 Ofl_RFASIO
Cmste ni 'miner         “   f
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
     0 No. Go to Part 2.
     El Yes. Where is the property?
                                                                     What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                     • Single-family home                               the amount of any secured claims on Schedule D:
       1.1.     51 Church Road                                                                                          Creditors Who Have Claims Secured by Property.
                                                                     O Duplex or multi-unit building
              Street address, if available, or other description
                                                                     • Condominium or cooperative                       Current value of the     Current value of the
                                                                     O Manufactured or mobile home                      entire property?         portion you own?
                                                                     • Land                                                   175,000.00                88,000.00
                                                          3028       U. Investment property
                Stockbridge                     GA                                                                      Describe the nature of your ownership
                                                                     O Timeshare
               City                            State      ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                     • Other                                            the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.   tenancy by entireties
                 Henry                                                0 Debtor 1 only
               County                                                 0 Debtor 2 only
                                                                      L:3 Debtor 1 and Debtor 2 only                    U Check if this is community property
                                                                                                                            (see instructions)
                                                                      la At least one of the debtors and another
                                                                      Other Information you wish to add about this item, such as local
                                                                      property identification number:
     If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                     Er Single-family home                              the amount of any secured claims on Schedule D:
       1.2.
                 1849 Oakmont Drive                                                                                     Creditors Who Have Claims Secured by Property.
                                                                     CI   Duplex or multi-unit building
               Street address, If available, or other description
                                                                     O Condominium or cooperative                       Current value of the      Current value of the
                                                                     O Manufactured or mobile home                      entire property?          portion you own?
                                                                     O Land                                                     40,000.00                  40,000.00
                                                                     O Investment property
                 Atlanta                                  303111                                                        Describe the nature of your ownership
                                                                     O Timeshare
               City                            State      ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                     O Other                                            the entireties, or a life estate), if known.
                                                                     Who has art interest In the property? Check one    fee simple
                                                                     Ef Debtor 1 only
                 Fulton
               County                                                U Debtor 2 only
                                                                     0 Debtor 1 and Debtor 2 only                           Check if this is community property
                                                                     CI At least one of the debtors and another             (see instructions)

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:


 Official Form 106A/B                                                 Schedule A/B: Property                                                              page 1
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                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put
                                                                     U Single-family home                                  the amount of any secured claims on Schedule D:
    1.3.                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       U Duplex or multi-unit building
                                                                    U Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                           entire property?          portion you own?
                                                                    U Manufactured or mobile home
                                                                    U Land
                                                                    U Investment property
           City                            State      ZIP Code      U Timeshare                                            Describe the nature of your ownership
                                                                                                                           Interest (such as fee simple, tenancy by
                                                                    U Other                                                the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    U Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                           U Check if this is community property
                                                                                                                             (see instructions)
                                                                    U At least one of the debtors and another

                                                                    Other Information you wish to add about this item, such as local
                                                                    property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                         128,000.00
   you have attached for Part 1. Write that number here.                                                                                      4




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   El No
   U Yes

           Make:                                                    Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
    3.1.
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                                                   U Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                                                                                                           Current value of the       Current value of the
                                                                    U Debtor 1 and Debtor 2 only
                                                                                                                           entire property?           portion you own?
           Approximate mileage:                                     U At least one of the debtors and another
           Other information:
                                                                    U Check if this is community property (see
                                                                      instructions)



   If you own or have more than one, describe here:

           Make:                                                    Who has an interest In the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                            the amount of any secured claims on Schedule D:
                                                                    U Debtor 1 only
           Model:                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                                                                                                            Current value of the      Current value of the
                                                                    U Debtor 1 and Debtor 2 only
                                                                                                                            entire property?          portion you own?
           Approximate mileage:                                     U At least one of the debtors and another
           Other information:
                                                                    U Check If this is community property (see
                                                                      instructions)




 Official Form 106A/B                                                Schedule NB: Property                                                                   page 2
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               First Name       Middle Name         Last Name




   3.3.    Make:                                                Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
                                                                   Debtor 1 only
           Model:                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                   Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                                   Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
           Approximate mileage:                                    At least one of the debtors and another
           Other information:
                                                                   Check if this is community property (see
                                                                   instructions)


           Make:                                                Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:                                               U Debtor 1 only                                   Creditors Who Have Claims Secured by Properly.
                                                                U Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                                U Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Approximate mileage:                                    At least one of the debtors and another
           Other information:
                                                                U Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   El No
   U Yes

                                                                Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    4.1. Make:
                                                                                                                  the amount of any secured claims on Schedule D:
                                                                   Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
           Model:
                                                                   Debtor 2 only
           Year:
                                                                U Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
           Other information:                                      At least one of the debtors and another        entire property?          portion you own?


                                                                U Check if this is community property (see
                                                                   instructions)



   If you own or have more than one, list here:

           Make:                                                Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:                                               U Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                                   Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                                   Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
           Other information:                                      At least one of the debtors and another


                                                                U Check if this is community property (see
                                                                   instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                          0.00
   you have attached for Part 2. Write that number here                                                                              4




 Official Form 106A/B                                            Schedule A/B: Property                                                             page 3
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                                                                 Document
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               First Name        Middle Name         Lest Name




Part 3:     Describe Your Personal and Household Hems

                                                                                                                          Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                         portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   U No
   id Yes. Describe          '    one living room furniture; one dining room set; one bedroom set                                           100.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   U No
   ▪ Yes. Describe                1 32 in tv                                                                                                 25.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   id No
   O Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
   id No
   O Yes. Describe

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   •   No
   0 Yes. Describe                                                                                                          $

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   El No
   • Yes. Describe                 5 jeans; 4 dresses; 5 blouses; 3 shoes; 10 underwear                                                       25.00


12.Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   ill No
   CI Yes. Describe
13.Non-farm animals
   Examples: Dogs, cats, birds, horses

   El No
   CI Yes. Describe

14.Any other personal and household items you did not already list, including any health aids you did not list

   •   No
    CI Yes. Give specific
       information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                              150.00
    for Part 3. Write that number here



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Part 4:        Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   •     No
   O Yes                                                                                                     Cash:                   $



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   U No
   El Yes                                                        Institution name:


                               17.1. Checking account:            Wells Fargo Bank                                                                  100.00

                               17.2. Checking account:            Navy Federal Credit Union                                                         200.00

                               17.3. Savings account:

                               17.4. Savings account:

                               17.5. Certificates of deposit:

                               17.6. Other financial account:

                               17.7. Other financial account:

                               17.8. Other financial account:

                               17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       U No
       El Yes                  Institution or issuer name:

                                 Retirement account                                                                                   $           5,000.00
                                                                                                                                      $
                                                                                                                                      $



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

       RI No                   Name of entity:                                                               % of ownership:
       U Yes. Give specific                                                                                  0%          %            $
         information about
         them                                                                                                0%          %            $
                                                                                                             0%          %            $




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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El No
   U Yes. Give specific      Issuer name:
        Information about
        them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   El No
   •    Yes. List each
        account separately. Type of account:           Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   •    No
   U Yes                                           Institution name or individual:
                              Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water

                              Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    El No
    •   Yes                    Issuer name and description:




 Official Form 106A/B                                            Schedule A/B: Property                                                 page 6
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               First Name    Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   El   No
   U Yes                             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   El No
   U Yes. Give specific
     information about them.... I


26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   El No
   U Yes. Give specific
     information about them....                                                                                                           $


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   El No
   U Yes. Give specific
     Information about them....


Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28.Tax refunds owed to you
   El   No
    U Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                        State:
           and the tax years.
                                                                                                                 Local:


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   El   No
        Yes. Give specific information
                                                                                                                Alimony:
                                                                                                                Maintenance:
                                                                                                                Support:
                                                                                                                Divorce settlement:
                                                                                                                Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
    EI No
                                                1
    U Yes. Give specific information




 Official Form 106A/B                                           Schedule A/B: Property                                                              page 7
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31. Interests in Insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   •      No
   U Yes. Name the insurance company            Company name:                                              Beneficiary:                             Surrender or refund value:
          of each policy and list its value....




32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   •      No
   U Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   ia No
   U Yes. Describe each claim.
                                                                                                                                                     $

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   121 No
   U Yes. Describe each claim.




35. Any financial assets you did not already list

   121 No
   U Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here
                                                                                                                                                                 5,300.00



Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       Ri No. Go to Part 6.
   •      Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       U No
       U Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       U No
       U Yes. Describe




 Official Form 106A/B                                            Schedule A/B: Property                                                                         page 8
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   CI No
   U Yes. Describe



41. Inventory
     U No
     U Yes. Describe


42. Interests in partnerships or joint ventures
   U No
   • Yes. Describe          Name of entity:                                                             % of ownership:




43. Customer lists, mailing lists, or other compilations
    U No
    • Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            U No
            U Yes. Describe.

                                     L_
44. Any business-related property you did not already list
    • No
    • Yes. Give specific
       information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here



Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    I d No. Go to Part 7.
    • Yes. Go to line 47.
                                                                                                                          Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
   U No
   U Yes

                                                                                                                                                0.00


 Official Form 106A/B                                       Schedule A/B: Property                                                     page 9
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              First Name       Middle Name        Last Name




48. Crops--either growing or harvested

   •   No
   U Yes. Give specific
     information                                                                                                                   $
49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   CI No
   U Yes

                                                                                                                                   $

50.Farm and fishing supplies, chemicals, and feed
   1:3 No
   U Yes

                           ;

51. Any farm- and commercial fishing-related property you did not already list
   U No
   U Yes. Give specific i
     Information.

52.Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
   for Part 6. Write that number here



Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

53.Do you have other property of any kind you did not already list?
   Examples: Season tickets, country club membership
   WI No
   U Yes. Give specific
     information.

                           ;


54.Add the dollar value of all of your entries from Part 7. Write that number here                                         4



Part 8:      List the Totals of Each Part of this Form

                                                                                                                                       128,000.00
55.Part 1: Total real estate, line 2                                                                                        4      $
                                                                                         0.00
96. Part 2: Total vehicles, line 6

                                                                                       150.00
57.Part 3: Total personal and household items, line 15
                                                                                  5,300.00
58.Part 4: Total financial assets, line 36
                                                                                         0.00
59.Part 5: Total business-related property, line 45
                                                                                         0.00
69. Part 6: Total farm- and fishing-related property, line 52

61.Part 7: Total other property not listed, line 54                        $             0.00


62.Total personal property. Add lines 56 through 61.
                                                                                 5,450.00       iCopy personal property total —}   $    5,450.00
                                                                         I $


                                                                                                                                          5,450.00
63. Total of all property on Schedule A/B. Add line 55 + line 62



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          11MI1Th]1lt.        5
IIIMMI                 RIMial fill 111111111111111111111111M
  ncbtor 1
             Annela
             •                  M.          Mnm
                     reel Name                   mime Name                LaSt Name

  Debtor 2
  (Spouse, lining)   First Name                  Middle Name              Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  racA                 20-65889                                                                                                            n (sh..ck if this
   Of known)
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you iisted on Schedule NB: Pm-perry (Official Form 106NB) as your source, list the property that you cam as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:       Identify the Property You Claim as Exempt


  1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      Ei You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       0   You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


  2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on           Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property                   portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule NB

       Brief                                                                                                                     0.C.G.A § 44-13-100 (a)
                                  51 Church Road               $ 175,000.00           El $ 88,000.00
       description:                                                                                                            . (1)
       Line from
                                                                                      0 100% of fair market value, up to
       Schedule NB:               1.1                                                    any applicable statutory limit


       Brief                                                                                                                   • 0.C.G.A § 44-13-100 (a)
       description:
                                  1849 Oakmont Drive           $ 40,000.00            Us
                                                                                                                               • (1)
       Line from
                                                                                      0 100% of fair market value, up to
       Schedule A/B:                                                                      any applicable statutory limit

       Brief
                                  household furniture          $ 100.00                                                        • 0.C.G.A § 44-13-100 (a)
       description:                                                                   Us
                                                                                                                               • (4)
       Line from                                                                      0 100% of fair market value, up to
       Schedule Aa•                                                                       any applicable statutory limit


  3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
      CI   Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           U     No
           0     Yes



 Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                         page 1 of_
           Case 20-65889-pmb                     Doc 10         Filed 05/07/20 Entered 05/14/20 12:33:19                               Desc Main
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Debtor 1        Angela                            M.               Morgan                        Case number (11known)    20-65889
              First Name         Middle Name       Last Name




 Part 2:     Additional Page

      Brief description of the property and line           Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
      on Schedule A/B that fists this property             portion you own
                                                           Copy the value from    Check only one box for each exemption
                                                           Schedule NB

     Brief
                                                                                                                            0.C.G.A § 44-13-100 (a) (4)
                           Electronics                                   25.00     D$
     description:
                           7                                                          100% of fair market value, up to
     Line from
     Schedule A/B:                                                                    any applicable statutory limit

     Brief                                                                                                                  0.C.G.A § 44-13-100 (a) (4)
                           Clothes                                       25.00    CI $
     description:
                                                                                      100% of fair market value, up to
     Line from             11
     Schedule A/B:                                                                    any applicable statutory limit


     Brief                                                                                                                  0.C.G.A § 44-13-100 (a) (6)
                           Wells Fargo                                 100.00     Us
     description:
                                                                                      100% of fair market value, up to
     Line from             17.
     Schedule A/B:                                                                    any applicable statutory limit

     Brief                 Navy Federal Credit Union                                                                        0.C.G.A § 44-13-100 (a) (6)
                                                                       200.00     u
     description:
      Line from            17.   2                                                 lid 100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                                  Us
                                                                                   0 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                  any applicable statutory limit


      Brief
      description:                                                                  Us
                                                                                   0 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                  any applicable statutory limit

      Brief
      description:                                                                    $
                                                                                   0 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                  any applicable statutory limit

      Brief
      description:                                                                    $
                                                                                   0 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                  any applicable statutory limit


      Brief
      description:                                                                    $
                                                                                   CI 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                   any applicable statutory limit

      Brief
      description:                                                                    $
                                                                                   CI 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                   any applicable statutory limit

      Brief
      description:                                                                    $
                                                                                   0 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                  any applicable statutory limit


      Brief
      description:                                                                  Us
                                                                                   0 100% of fair market value, up to
      Line from
                                                                                     any applicable statutory limit
      Schedule A/B:


 Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                        page      of
                                                               '
                Case 20-65889-pmb                          Doc 10       Filed 05/07/20 Entered 05/14/20 12:33:19                                    Desc Main
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Exttor
                      AnnAla
                      '                                 M.                   MM.!:Inn
                      i-ast Name                 male Name                     Lam Name

Debtor 2
(Spouse, if filing)   First   Name               Middle   Name                 Last Name


United States Bankruptcy Court for the: Northern District of Georgia

rn.. niinihrT             20-66889
(If known)                                                                                                                                          U 'Med; if this is an
                                                                                                                                                        amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

j.   Du di ly e. wdiLu, I HAIM U4111112:4 euu.i by p.m' upw
      U No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      EI Yes. Fill in all of the information below.

Part 1:          List All Secured Claims
                                                                                                         Column A                            Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                      Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                   that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.                 claim                If any
2.1
          PHH Mortgage                                       Describe the property that secures the claim:                      80,000.00     $   40,000.00 $          0.00
      Creditors Name
                                                             Single Family Home
          P.O. Box 77423
      Number              Street                             1849 Oakmont Drive, Atlanta, GA 30314
                                                             As of the date you file, the claim is: Check all that apply.
                                                             • Contingent
          Springfield                 OW 45501               • Unllquidated
      City                           Math ZIP Code           El Disputed
     Who owes the debt? Check one.                           Nature of lien. Check all that apply.
     ir    Debtor 1 only                                         An agreement you made (such as mortgage or secured
     U     Debtor 2 only                                         car loan)
     U     Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
     U     At least one of the debtors and another               Judgment lien from a lawsuit
                                                                 Other (Including a right to offset)
  U Check if this claim relates to a
     community debt
_ Date  _ was incurred
       debt       . .     _                                  Last 4 digits of account number
2.2
          Cenlar Mortgage                                    Describe the property that secures the claim:                  $   170,000.00    $   160,000.00 $           0.00
       Creditor's Name
                                                             single family home
          P.O. Box 77423
      Number              Street                             51 Church Road, Stockbridge, GA 30281
                                                             As of the date you file, the claim is: Check all that apply.
                                                             Er Contingent
          Ewing                        NI 08628              • Unliquidated
      City                           State   ZIP Code        ▪ Disputed
     Who owes the debt? Check one.                           Nature of lien. Check all that apply.
     U Debtor 1 only                                         la An agreement you made (such as mortgage or secured
     El Debtor 2 only                                           car loan)
     U Debtor 1 and Debtor 2 only                            El Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              U Judgment lien from a lawsuit
                                                             U Other (including a right to offset)
     U Check If this claim relates to a
        community debt
     Date debt was incurred                                  Last 4 digits of account number
          Add the dollar value of your entries in Column A on this page. Write that number here:

 riffirsial   Fnrm 1BSD                              Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of
             Case 20-65889-pmb                       Doc 10         Filed 05/07/20 Entered 05/14/20 12:33:19                                       Desc Main
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Debtor 1                                                                                                Case number (If known)     20-66889
                First Name      Middle Name          Last Name



                                                                                                                     Column A               Column B              Column C
             Additional Page
                                                                                                                     Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                        Do not deduct the      that supports this    portion
             by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any

                                                      Describe the property that secures the claim:
    Creditor's Name

    Number            Street

                                                      As of the date you file, the claim is: Check all that apply.
                                                      U      Contingent
    City                        State    ZIP Code     •      Unliquidated
                                                      El     Disputed
 Who owes the debt? Check one.                        Nature of lien. Check all that apply.
  U Debtor 1 only                                     U An agreement you made (such as mortgage or secured
  U Debtor 2 only                                       car loan)
  O Debtor 1 and Debtor 2 only                        U Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another           D Judgment lien from a lawsuit
                                                      O Other (including a right to offset)
  U Check if this claim relates to a
    community debt

  Date debt was incurred                              Last 4 digits of account number


El  Creditor's Name
                                                      Describe the property that secures the claim:


    Number            Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                      O Contingent
                                                      • Unliquidated
    City                         State    ZIP Code    O Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
  D    Debtor 1 only
                                                      O An agreement you made (such as mortgage or secured
  •    Debtor 2 only                                     car loan)
  U Debtor 1 and Debtor 2 only                        CI Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another           O Judgment lien from a lawsult
                                                      O Other (including a right to offset)
  U Check If this claim relates to a
    community debt

  Date debt was incurred                              Last 4 digits of account number

                                                      Describe the property that secures the claim:
    Creditor's Name

    Number            Street

                                                      As of the date you file, the claim Is: Check all that apply.
                                                          O Contingent
    City                         State    ZIP Code        • UnlIquidated
                                                          O Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
       Debtor 1 only                                      O An agreement you made (such as mortgage or secured
       Debtor 2 only                                        car loan)
       Debtor 1 and Debtor 2 only                         O Statutory lien (such as tax lien, mechanic's lien)
  U    At least one of the debtors and another            O Judgment lien from a lawsuit
                                                          O Other (including a right to offset)
       Check if this claim relates to a
       community debt
  Date debt was incurred                              Last 4 digits of account number

           Add the dollar value of your entries in Column A on this page. Write that number here:
           If this is the last page of your form, add the dollar value totals from all pages.
           Write that number here:

 Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page       of
              Case 20-65889-pmb                  Doc 10         Filed 05/07/20 Entered 05/14/20 12:33:19                              Desc Main
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Debtor 1
                Angela                        M.                 Morgan             Case number (If known) 20-66889
                First Name     Middle Name         Last Name


  Part 2:       List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed In Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor?

      Name                                                                                 Last 4 digits of account number


      Number          Street




      City                                            State            ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

      Name                                                                                 Last 4 digits of account number


      Number          Street




      City                                            State            ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number         Street




       City                                           State            ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number         Street




       City                                            State           ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number_


       Number         Street




       City                                            State           ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number         Street




                                                       State           ZIP Code
                                             Save As...            I    Add Attachment                                                        Reset

 Official Form 106D                           Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page       of
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                                                            • I       .


                      AnnAla                                         M.                  Mornan
 Ex:7,0r
                      heat Name                                   mama Name                Last Name

  Debtor 2
  (Spouse, if filing) First Name                                  Middle Name              Lest Name


  United States Bankruptcy Court for the: Northern District of Georgia
                        20-65889                                                                                                                                 Z1 Check if this is an
  race, nismhor
   (If known)                                                                                                                                                       amended filing


              • —1                      i.II    IL-
%-J I   I I LA CU I    VI    I I I   I t.P..J L—/



Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:            List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
        id No. Go to Part 2.
   U Yes.
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
   each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
   nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
   unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                                  Total claim   Priority     Nonpriority
                                                                                                                                                                amount       amount

                                                                                   Last 4 digits of account number
         Priority Creditor's Name
                                                                                   When was the debt incurred?
         Number             Street

                                                                                   As of the date you file, the claim is: Check all that apply.

                                                State              ZIP Code
                                                                                   U Contingent
         City
                                                                                   • Unliquidated
         Who incurred the debt? Check one.                                         • Disputed
         CI Debtor 1 only
         • Debtor 2 only                                                           Type of PRIORITY unsecured claim:
         U Debtor 1 and Debtor 2 only                                              U Domestic support obligations
         U At least one of the debtors and another
                                                                                   U Taxes and certain other debts you owe the government
          U Check if this claim is for a community debt                            U Claims for death or personal Injury while you were
         Is the claim subject to offset?                                             intoxicated
         U No                                                                      U Other. Specify
         U Yes

                                                                                   Last 4 digits of account number ____                           $
         Priority Creditors Name
                                                                                   When was the debt incurred?
          Number            Street
                                                                                   As of the date you file, the claim Is: Check all that apply.
                                                                                   U Contingent
          City                                      State          ZIP Code        • Unliquldated
          Who incurred the debt? Check one.                                        • Disputed
          U Debtor 1 only
                                                                                   Type of PRIORITY unsecured claim:
          U Debtor 2 only
                                                                                   U Domestic support obligations
          U Debtor 1 and Debtor 2 only
                                                                                   U Taxes and certain other debts you owe the government
          U At least one of the debtors and another
                                                                                   U Claims for death or personal injury while you were
          •      Check if this claim Is for a community debt                          intoxicated
          Is the claim subject to offset?                                          CI Other. Specify
          U No
              Yes


Official Form 106E/F                                                        Schedule IF: Creditors Who Have Unsecured Claims                                           page 1 of
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                                                           Case number (If known) 20-65889
                 First Name      Middle Name         Last Name

 Part 1:        Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                         Total claim   Priority   Nonpriority
                                                                                                                                              amount     amount


                                                                 Last 4 digits of account number
     Priority Creditor's Name

                                                                 When was the debt incurred?
      Number          Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 U Contingent
      City                              State   ZIP Code         • Unliquidated
                                                                 U Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                            Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                 •  Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                 U Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                 U Claims for death or personal injury while you were
                                                                    intoxicated
      •      Check if this claim is for a community debt
                                                                 LI Other. Specify
      Is the claim subject to offset?
      U No
      U Yes

LII                                                              Last 4 digits of account number
      Priority Creditors Name

                                                                 When was the debt incurred?
      Number           Street

                                                                 As of the date you the, the claim is: Check all that apply.

                                                                 U Contingent
      City                              State   ZIP Code         • Unliquidated
                                                                 U Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                            Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                 U Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                 U Taxes and certain other debts you owe the government
        At least one of the debtors and another
                                                                 U Claims for death or personal Injury while you were
                                                                   intoxicated
      O Check if this claim is for a community debt
                                                                 U Other. Specify
      Is the claim subject to offset?
      U No
      U Yes
          _

                                                                 Last 4 digits of account number
      Priority Creditor's Name

                                                                 When was the debt incurred?
      Number           Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 U Contingent
      City                              State   ZIP Code         • Unliquidated
                                                                 U Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                            Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                 U Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                 LI Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                 U Claims for death or personal injury while you were
                                                                    intoxicated
      •      Check if this claim is for a community debt
                                                                 LI Other. Specify
      Is the claim subject to offset?
      O No
      U Yes


Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 page    of
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                                                                                           Case number (If known) 20-65889
                  First Name           Mktdle Name        Last Name

 Part 2:        List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       Li No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       El Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim

          T-Mobile                                                                   Last 4 digits of account number_                                            1500.00
        Nonprionty Creditor's Name
                                                                                     When was the debt Incurred?          01/15
         P.O. Box 37380
        Number          Street
          Albuquerque                                     NM            87176-738b
        City                                          State           ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                     Er Contingent
        Who incurred the debt? Check one.                                            • Unliquidated
        El Debtor 1 only                                                             U Disputed
        Li Debtor 2 only
        • Debtor 1 and Debtor 2 only                                                 Type of NONPRIORITY unsecured claim:
        1=1 At least one of the debtors and another                                  U Student loans
        U Check if this claim is for a community debt                                U Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
        Is the claim subject to offset?                                              U Debts to pension or profit-sharing plans, and other similar debts
        El No                                                                        Ef Other. Specify unsecured credit
        U Yes


pi Barclay's Bank
        Nonpnonty Creditor's Name
                                                                                     Last 4 digits of account number
                                                                                     When was the debt incurred?             1F1-3 -
                                                                                                                                                                  2000.00

         125 South West Street
         Number         Street
          Wilmington                                      DE            19801        As of the date you file, the claim is: Check all that apply.
         City                                         State           ZIP Code       lk   Contingent
         Who incurred the debt? Check one.                                           •    Unliquldated
                                                                                     •    Disputed
         El Debtor 1 only
         U Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
         U Debtor 1 and Debtor 2 only
         U At least one of the debtors and another                                   U Student loans
                                                                                     C:1 Obligations arising out of a separation agreement or divorce
         U Check if this claim is for a community debt                                   that you did not report as priority claims
         Is the claim subject to offset?                                             • Debts to pension or profit-sharing plans, and other similar debts
         El No                                                                       • Other. Specify unsecured debt
         la Yes
4.3       Wells Fargo Bank                                                           Last 4 digits of account number                                             5,000.00
         Nonpriority Creditor's Name                                                                                        01/12
                                                                                     When was the debt incurred?
          420 Montgomery Street
         Number          Street
          San Francisco                                   CA            94104
                                                                                     As of the date you file, the claim Is: Check all that apply.
         City                                         State           ZIP Code
                                                                                     if Contingent
         Who incurred the debt? Check one.
                                                                                     • Unliquldated
         lir Debtor 1 only                                                           U Disputed
         U Debtor 2 only
         U Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
         13 At least one of the debtors and another
                                                                                     U Student loans
         U Check if this claim is for a community debt                               U Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Is the claim subject to offset?
                                                                                     U Debts to pension or profit-sharing plans, and other similar debts
         Ef No
                                                                                     lir Other. Specify unsecured debt
         U Yes



elff      Pnrm 1nRFIF                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  page    of
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                                                                       Morgan     Page 31 of 53number yf known) 20-65889
                                                                                           Case
                 First Name         Middle Name        Last Name


Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                           Total claim



          Discover Financial                                                              Last 4 digits of account number —         —    —    —                  $ 5,000.0
     Nonpnority Creditor's Name
                                                                                          When was the debt incurred?          01/12
          P.O. Box 30943
     Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
          Salt Lake City                               UT              84130-0943
     City                                          State             ZIP Code             ErContingent
                                                                                          • Unliquidated
     Who incurred the debt? Check one.                                                    U Disputed
     43 Debtor 1 only
     U Debtor 2 only                                                                      Type of NONPRIORITY unsecured claim:
     U Debtor 1 and Debtor 2 only                                                         U Student loans
     El At least one of the debtors and another                                           •  Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
     U Check if this claim is for a community debt
                                                                                          U Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                      kr Other. Specify     unsecured credit card
     Er No
     U Yes



                                                                                          Last 4 digits of account number                                        $ 7,000.0
          American Express
      Nonpriority Creditor's Name
                                                                                          When was the debt incurred?
          200 Vesey Street
      Number           Street
                                                                                          As of the date you file, the claim is: Check all that apply.
          New York City                                NY              10285-310 4)
      City                                         State             ZIP Code             kr Contingent
                                                                                          •  Unliquidated
      Who incurred the debt? Check one.                                                   U Disputed
      ief Debtor 1 only
      U Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
      El Debtor 1 and Debtor 2 only                                                       U Student loans
      U At least one of the debtors and another                                           U Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
      •      Check if this claim is for a community debt
                                                                                          U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     kr Other. Specify     unsecured credit card
      kr No
      U Yes
                                                            r7-7 7         -77777   A 7   =AAA                         _

                                                                                                                                                                 $ 5,000.0
                                                                                          Last 4 digits of account number
          Macy's
      Nonprlority Creditor's Name
                                                                                          When was the debt incurred?           01/15
          7 West Seventh Street
      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
          Cincinnati                                   OH               45202
      City                                         State             ZIP Code             kr Contingent
                                                                                          •  Unliquidated
      Who incurred the debt? Check one.                                                   U Disputed
      kr Debtor 1 only
      • Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                        U Student loans
      El At least one of the debtors and another                                          U Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      U Check If this claim is for a community debt
                                                                                          El Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     kr Other. Specify     unsecured credit card
      la No
      U Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      page _of _
              Case 20-65889-pmb                     Doc 10              Filed 05/07/20 Entered 05/14/20 12:33:19                                   Desc Main
Debtor 1           Angela                        M.                    Document
                                                                         Morgan     Page 32 of 53number (If known) 20-65889
                                                                                            Case
                   First Name      Middle Name           Last Name



Part 3:           List Others to Be Notified About a Debt That You Already Listed

6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed In Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                      Line       of (Check one): 0       Part 1: Creditors with Priority Unsecured Claims
      Number             Street                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                      Last 4 digits of account number
     _pity                                       State               ZIP Code

                                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                      Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number             Street                                                                                    U Part 2: Creditors with Nonpriority Unsecured
                                                                                      Claims

                                                                                      Last 4 digits of account number — — — —
      City                                       State               ZIP Code


                                                                                      On which entry in Part 1 or Part 2 dld you list the original creditor?
      Name

                                                                                      Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number             Street                                                                                    •      Part 2: Creditors with Nonpriority Unsecured
                                                                                      Claims

                                                                                      Last 4 digits of account number
      City.   .                                  State               ZIP Code     .

                                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                       Line       of (Check one): 0       Part 1: Creditors with Priority Unsecured Claims
      Number             Street                                                                                    •      Part 2: Creditors with Nonpriority Unsecured
                                                                                      Claims

                                                                                      Last 4 digits of account number
      City                                       State               ZIP Code


                                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                       Line       of (Check one): 0       Part 1: Creditors with Priority Unsecured Claims
      Number             Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured
                                                                                      Claims

                                                                                      Last 4 digits of account number
                                                 State .     ,       ZIP Code _

                                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                       Line       of (Check one): 0       Part 1: Creditors with Priority Unsecured Claims
      Number             Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims

                                                                                      Last 4 digits of account number
                                                 State               ZIP Code


                                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                       Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number              Street
                                                                                                                       U Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims


      City                                       State               ZIP Code
                                                                                      Last 4 digits of account number


Offinial Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page        of
             Case 20-65889-pmb                    Doc 10            Filed 05/07/20 Entered 05/14/20 12:33:19                                    Desc Main
Debtor 1         Angela                M.           MorganDocument              Page 33 of 53
                                                                                        Case number Of known) 20-65889
                 First Name         Middle Name     Lest Name


Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



       JP Morgan Chase Card Services                                             Last 4 digits of account number                                         $ 5,000.0
     Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          01/15
       Nations Bank By Mail P.O. Box 6185
     Number            Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
       Westerville                                 OH             43086
     City                                         State         ZIP Code          lir
                                                                                    Contingent
                                                                                  • Unliquidated
     Who Incurred the debt? Check one.                                            U Disputed
     IR Debtor 1 only
     U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check If this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             El Other. Specify unsecured credit card
        No
      U Yes

                                                     -                                                                                    -LL     t




                                                                                  Last 4 digits of account number                                        $ 2,500.0
       US Bank
      Nonpriority Creditor's Name
                                                                                  When was the debt Incurred?           01/15
       425 Walnut Street
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       Cincinnati                                   OH            45202
      City                                        State         ZIP Code          la Contingent
                                                                                  •  Unllquidated
      Who incurred the debt? Check one.                                           U Disputed
      lir Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
             Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             id Other. Specify unsecured credit card
      10 No
      U Yes

                                                                                                                                                         $ 4,000.0
       Pay Pal/Synchrony Bank Credit Card Synchrony Bank                          Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                  When was the debt incurred?           01/12
       P.O. Box 965012
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       Orlando                                      FL            32896
      City                                        State         ZIP Code          la Contingent
                                                                                  •  Unliquidated
      Who incurred the debt? Check one.                                           U Disputed
        Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                El Student loans
      U At least one of the debtors and another                                   El Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check if this claim Is for a community debt
                                                                                  El Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             ki Other. Specify     unsecured credit card
      Ed No
      U Yes




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page    of
             Case 20-65889-pmb                      Doc 10          Filed 05/07/20 Entered 05/14/20 12:33:19 Desc     A .)? Main
Debtor 1       iki9e
                First NaMe          Middle Name      Last Name
                                                                  Document
                                                                   (24          Page 34 of 53
                                                                                        Case number (If known).Zd 6-1


Part 2:      Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim



                                                                                   Last 4 digits of account number
       Belk/Synchrony                                                                                                                                     $ 2 500• 0
     Nonpriority Creditor's Name
                                                                                   When was the debt incurred?          01/15
       P.O. Box 695012
     Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Orlando                                      FL             32896-501Z
     City                                          State         ZIP Code          • Contingent
                                                                                   • Unilquidated
     Who incurred the debt? Check one.                                             U Disputed
      ia Debtor 1 only
      U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      El Debtor 1 and Debtor 2 only                                                U Student loans
      El At least one of the debtors and another                                   El Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              le Other. Specify     unsecured credit card
        No
      U Yes



                                                                                   Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?

      Number          Street
                                                                                   As of the date you file, the claim Is: Check all that apply.

      City                                         State         ZIP Code          El Contingent
                                                                                   •  Unliquidated
      Who incurred the debt? Check one.                                            U Disputed
      U Debtor 1 only
      El Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      El Debtor 1 and Debtor 2 only                                                U Student loans
      El At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim Is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
      is the claim subject to offset?                                              El Other. Specify
      U No
      U Yes



                                                                                   Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                   When was the debt Incurred?

      Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.

      City                                         State         ZIP Code          U Contingent
                                                                                   •  Unliquidated
      Who incurred the debt? Check one.                                            El Disputed
      U Debtor 1 only
      U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                 U Student loans
      El At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check If this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              U Other. Specify
      U No
      El Yes




Official Form 106E/F                                       Schedule EJF: Creditors Who Have Unsecured Claims                                               page   of
           Case 20-65889-pmb                    Doc 10           Filed 05/07/20 Entered 05/14/20 12:33:19                 Desc Main
Debtor 1       Angela                          M.               Document
                                                                   Morgan    Page 35 ofCase
                                                                                         53number (If known) 20-65889
               First Name     Middle Name           Lest Name



Part 4:     Add the Amounts for Each Type of Unsecured Claim



6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                           Total claim


                 6a. Domestic support obligations                                6a.                          0.00
Total claims
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                  6b.                          0.00

                 6c. Claims for death or personal injury while you were
                     intoxicated                                                 6c.                          0.00

                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                     6d.   +                 39,500.00


                 6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                         39,500.00


                                                                                           Total claim


                 6f Student loans                                                6f.                          0.00
Total claims       '
from Part 2
                 6g. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority
                                                                                                              0.00
                     claims                                                      6g.        $

                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                               6h.                          0.00


                 61. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                     61.        $                 0.00


                 6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                              0.00




           Print                            Save As...                Add Attachment                                             Reset

Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                               page _of_
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                                                                    Document     Page 36 of 53
                      •     .     •   •   T • I          •




 petitor              Am:1(4ln                        M.               kilnrcign
                      Fast Name                   Middle Name              Last Name

 Debtor 2
 (Spouse If filing)   First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 roc. ri,,mhear           20-66889
  (if known)                                                                                                                          ij Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more spec- is ... A. copy the additional page, fiii it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Dv you ;law rimy eAuoutoly UIIIIdI                  of au foApifuti iuusuu?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       U Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                            State what the contract or lease is for


2.1
       Name

       Number             Street

       City                               State         ZIP Code

2.2.
       Name

       Number             Street

       City                               State         ZIP Code
2.3
       Name

       Number             Street

       City                               State         ZIP Code
2.4.
       Name

       Number             Street

       City                               State         ZIP Code
2.5
       Name

       Number             Street

       City                               State          ZIP Code


Official Form 106G                                  Schedule G: Executory Contracts and Unexpired Leases                                     page 1 of
                   Case 20-65889-pmb                         Doc 10          Filed 05/07/20 Entered 05/14/20 12:33:19                   Desc Main
                                                                            Document     Page 37 of 53
Debtor 1            Angela                                 M.                Morgan              Case number (If known)
                                                                                                                        20-66889
                     First Name      Middle Name                Last Name




                    Additional Page if You Have More Contracts or Leases

         Person or company with whom you have the contract or lease                                 What the contract or lease is for

 22,

         Name

         Number            Street

         City                                      State        ZIP Code



         Name

         Number            Street


         City                                      State        ZIP Code



         Name

         Number            Street


         City                                      State        ZIP Code

  2.—

         Name

            Number          Street

            City                                   State        ZIP Code




            Name

            Number          Street

            City                                   State        ZIP Code

  2. '

            Name

            Number          Street

            City                                   State        ZIP Code


  _
            Name

            Number          Street


            City                                   State        ZIP Code




            Name

            Number          Street


            City                                    State        ZIP Code

                   Print                             Save As...                 I Add Attachment                                           Reset
Clffinial   Form 106G                                       Schedule G: Executory Contracts and Unexpired Leases                            page    of
             Case 20-65889-pmb                            Doc 10             Filed 05/07/20 Entered 05/14/20 12:33:19                            Desc Main
                                                                            Document     Page 38 of 53


                    AnrY110                              Pail                  Morr!on
                     hat Name                        Mlaale Name                 Last Name


 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the:       Northern District of Georgia

 !logonu,mtiar           20-65889
  at known)
                                                                                                                                                 Li Check if this is an
                                                                                                                                                    amended fiiing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
           No
       U Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       El No. Go to line 3.
       U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            U No
            U Yes. In which community state or territory did you live?                                   . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number             Street



                  City                                             State                     ZIP Code

: 3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
        Schedule D (Official Form 106D), Schedule E.* (Official Form 106FJF), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                                 Check all schedules that apply:

 3.1
                                                                                                                      Schedule D, line
          Name
                                                                                                                      Schedule E/F, line
          Number           Street                                                                                     Schedule G, line

          City                                                        State                   ZIP Code

 3.2
                                                                                                                      Schedule D, line
          Name
                                                                                                                      Schedule E/F, line
          Number            Street                                                                                    Schedule G, line

          City                                                        State                   ZIP Code

 3.3
                                                                                                                      Schedule D, line
          Name
                                                                                                                      Schedule E/F, line
          Number            Street                                                                                U Schedule G, line

          City                                                        State                   ZIP Code



tlfficial Form 106H                                                           Schedule H: Your Codebtors                                                page 1 of
                Case 20-65889-pmb                       Doc 10          Filed 05/07/20 Entered 05/14/20 12:33:19                               Desc Main
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Debtor 1          Angela                           M.                    Morgan                       Case number (If knows)   20-65889
                  First Name       Middle Name          Lest Name



                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                              Column 2: The creditor to whom you owe the debt

                                                                                                             Check all schedules that apply:
 3._

                                                                                                             U Schedule D, line
       Name
                                                                                                             U Schedule E/F, line

        Number           Street                                                                               U Schedule G, line


        City                                                 State                     ZIP Code

 3._
                                                                                                              0   Schedule D, line
        Name
                                                                                                              U Schedule E/F, line

        Number           Street                                                                               Cl Schedule G, line


        City                                                  State                    ZIP Code

 3._
                                                                                                              U Schedule D, line
        Name
                                                                                                              Cl Schedule E/F, line

        Number           Street                                                                               Li Schedule G, line


        City                                                  State                    ZIP Code

 3._
                                                                                                              Ci Schedule D, line
        Name
                                                                                                              U Schedule E/F, line

        Number            Street                                                                              Li Schedule G, line


        City                                                  State                     ZIP Code
 3._
                                                                                                              U Schedule D, line
        Name
                                                                                                              U Schedule E/F, line

        Number            Street                                                                              Ci Schedule G, line


        City                                                  State                     ZIP Code

 3._
                                                                                                              U Schedule D, line
        Name
                                                                                                              U Schedule E/F, line

        Number            Street                                                                               U Schedule G, line


        City                                                  State                     ZIP Code

 3._
                                                                                                              U Schedule D, line
        Name
                                                                                                                   Schedule E/F, line

        Number            Street                                                                                   Schedule G, line


         City                                                 State                     ZIP Code


                                                                                                               U Schedule D, line
         Name
                                                                                                                   Schedule E/F, line

        Number            Street                                                                               U Schedule G, line


         City                                                  State                    ZIP Code...


                Print                            Save As...                  Add Attachment

nffir.121 Fnrm 1CISH                                                    Schedule H: Your Codebtors                                                page     of
               Case 20-65889-pmb                  Doc 10     Filed 05/07/20 Entered 05/14/20 12:33:19                                        Desc Main
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                                       'I




 DAhtnr              Angela                     M.                 tvlorgan
                    First Name               Middle Name                Lest Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name                Lest Name


 United States Bankruptcy Court for the: Northern District of Georgia
                       Pfl-A6RRA
 Case number                                                                                            Check if this is:
  (If known)
                                                                                                              An nmPnrieri filing
                                                                                                              A Supple:I:Egli                        eilapit-3f 13
                                                                                                              income as of the following date:
Official Form 1061                                                                                            MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                 12/15

Be as complete and accurate as possible. If two married peopie are thing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:           Describe Employment


1. Fill in your employment
    Information.                                                              Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional            Employment status              U Employed                                    U Employed
    employers.                                                               Not employed                                U Not employed

    Include part-time, seasonal, or
    self-employed work.
                                            Occupation
    Occupation may include student
    or homemaker, if it applies.
                                            Employer's name

                                            Employer's address
                                                                           Number Street                               Number       Street




                                                                           City            State   ZIP Code            City                    State ZIP Code

                                            How long employed there?


  Part 2:          Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1         For Debtor 2 or
                                                                                                                        non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
      deductions). If not paid monthly, calculate what the monthly wage would be.           2.            0.00

  3. Estimate and list monthly overtime pay.                                                              0.00


  4. Calculate gross income. Add line 2 + line 3.                                           4.            0.00



Official Form 1061                                                 Schedule I: Your Income                                                           page 1
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Debtor I        Angela                     M.                 Morgan                            Case number (If know))   20-65889
                First Name   Middle Name        Last Name



                                                                                               For Debtor 1               For Debtor 2 or
                                                                                                                         ramtall_i spouse
    Copy line 4 here                                                               -)   4.     $         0.00

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                  5a.    $                            $
     5b. Mandatory contributions for retirement plans                                   5b.    $                            $
     5c. Voluntary contributions for retirement plans                                   5c.    $                            $
     5d. Required repayments of retirement fund loans                                   5d.    $                            $
     5e. Insurance                                                                      5e.    $                            $
     5f. Domestic support obligations                                                   5f.    $                            $

     5g. Union dues                                                                     5g.    $                            $
     5h. Other deductions. Specify:                                                     5h. + $                          + $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.        6.     $                            $

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                7.     $


 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                          8a.
     8b. Interest and dividends                                                         8b.    $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                         8c.
     8d. Unemployment compensation                                                      8d.    $
     Be. Social Security                                                                Be.    $

      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental
          Nutrition Assistance Program) or housing subsidies.
          Specify:                                                                  8f.        $

      8g.Pension or retirement Income                                                   8g.    $

      8h.Other monthly income. Specify:                                                 8h. +$                            +$

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.               9.

 10. Calculate monthly income. Add line 7 + line 9.                                                       0.00                                             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.           10.

 11. State all other regular contributions to the expenses that you list in Schedule J
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                           11.   $            0.00
 12. Add the amount In the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                        12.
                                                                                                                                                           0.00
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                              Combined
                                                                                                                                              monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      El No.
      El Yes. Explain:


Official Form 1061                                              Schedule I: Your Income                                                           page 2
                 Case 20-65889-pmb                   Doc 10     Filed 05/07/20 Entered 05/14/20 12:33:19                                     Desc Main
                                                               Document     Page 42 of 53

   Fill in this information to identify your case:

   Debtor 1            Angela                     M.                  Morgan
                       First Name               Middle Name               Lest Name                      Check if this is:
   Debtor 2                                                                                                  An amended filing
   (Spouse, if         First Name               Middle Name               Last Name
                                                                                                             A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District of Georgia                                      expenses as of the following date:
   Case number          20-65889                                                                             MM / DD / YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                              12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:             Describe Your Household

I. Is this a joint case?

    Ei No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?
                 •     No
                 •     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                   51No                                    Dependent's relationship to              Dependent's     Does dependent live
    Do not list Debtor 1 and                  U Yes. Fill out this information for    Debtor 1 or Debtor 2                     age             with you?
    Debtor 2.                                   each dependent
    Do not state the dependents'
                                                                                                                                               CI No
    names.                                                                                                                                     0 Yes
                                                                                                                                               0 No
                                                                                                                                               0 Yes
                                                                                                                                               0 No
                                                                                                                                               0 Yes
                                                                                                                                               0 No
                                                                                                                                               0 Yes
                                                                                                                                               0 No
                                                                                                                                               El Yes
 3. Do your expenses include
                                              10 No
    expenses of people other than
    yourself and your dependents?             U Yes

 Part 2:             Estimate Your Ongoing Monthly Expenses

  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
  Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule              Your Income (Official Form 1061.)                                  Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                1200.00
      any rent for the ground or lot,                                                                                    4.

      If not included In line 4:
      4a. Real estate taxes                                                                                              4a.                        0.00
      4b. Property, homeowner's, or renter's Insurance                                                                   4b.                        0.00
      4c. Home maintenance, repair, and upkeep expenses                                                                  4c.                        0.00
      4d. Homeowner's association or condominium dues                                                                    4d.                        0.00

Official Form 106J                                              Schedule J: Your Expenses                                                            page 1
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 Debtor 1        Angela                      M.                   Morgan                  Case number or known)   20-65889
                 First Name    Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                         $                 0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6. Utilities:
      6a. Electricity, heat, natural gas                                                                          Ca.    $               500.00
      6b. Water, sewer, garbage collection                                                                        6b.    $               250.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.    $               250.00
      6d. Other. Specify:                                                                                         6d.    $                 0.00
 7. Food and housekeeping supplies                                                                                7.     $               300.00
 8. Childcare and children's education costs                                                                      8.     $                 0.00
 a Clothing, laundry, and dry cleaning                                                                            9.     $               150.00
10. Personal care products and services                                                                           10.    $               100.00
11. Medical and dental expenses                                                                                   11.    $               100.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                         $                50.00
    Do not include car payments.                                                                                  12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.    $                50.00
14. Charitable contributions and religious donations                                                              14.    $                 0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                         15a.   $                 0.00
      15b. Health insurance                                                                                       15b.   $                 0.00
      15c, Vehicle insurance                                                                                      15c.   $                 0.00
      15d. Other insurance. Specify:                                                                              15d.   $                 0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                    16.    $                 0.00

17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                             17a.   $                 0.00
      17b. Car payments for Vehicle 2                                                                             17b.   $                 0.00
      17c. Other. Specify:                                                                                        17c.   $                 0.00
      17d. Other. Specify:                                                                                        17d.   $                 0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule!, Your Income (Official Form 1061).                                               18.   $                 0.00

19. Other payments you make to support others who do not live with you.
      Specify'                                                                                                     19. $                   0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

      20a. Mortgages on other property                                                                            20a.   $               700.00

      20b. Real estate taxes                                                                                      20b.   $                 0.00
      20c. Property, homeowner's, or renter's insurance                                                           20c.   $                 0.00
      20d. Maintenance, repair, and upkeep expenses                                                               20d.   $                 0.00
      20e. Homeowner's association or condominium dues                                                            20e.   $                 0.00


Official Form 106J                                            Schedule J: Your Expenses                                                     page 2
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Debtor 1                                                                                   Case number V(know)   20-65889
               First Name   Middle Name        Last Name




21. Other. Specify:                                                                                              21.   +$         0.00

22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                             22a.             3,900.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                     22b.                 0.00
    22c. Add line 22a and 22b. The result is your monthly expenses.                                          22c.             3,900.00


23. Calculate your monthly net income.
                                                                                                                                  0.00
   23a.    Copy line 12 (your combined monthly income) from Schedule!.                                       23a.

   23b.    Copy your monthly expenses from line 22c above.                                                   23b. —$          3,900.00

   23c. Subtract your monthly expenses from your monthly income.
                                                                                                                             3,900.00-
        The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   El No.
   U Yes.        Explain here:




Official Form 106J                                         Schedule J: Your Expenses                                              page 3
lintvisprommiml                                               lorrwwwwwwwmi
                  Case 20-65889-pmb                         Doc 10    Filed 05/07/20 Entered 05/14/20 12:33:19                             Desc Main
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Fill in this information to identify your case:


Debtor 1            Angela                           M.                   Morgan
                    rdst                                                  Lai4;4,11.i

Debtor 2
(Spouse, if filing) First Name                    Middle Name             Last Name

United States Bankruptcy court for the: Northern District of Georgia
Case number             20-65889                                                                                                             17.1   eheck it this is an
 (If known)                                                                                                                                         amended filing



  Official Form 108
  catmitchingant ewf !Man:ties:1 Per infliviebiAa                                                                       lInfigar Chptiar 7
  If you are an Individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  II you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  "'1"''.="7"'""                   `.":4!"tesrMr"71e the t in'"?      V!",,t! "'net ele., eetn:i                               r")t• lie. an the 4"""
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number Of known).
  mmeimon
  immirwrisi List. You: Creditors Who WaVG SOCA:red Claims
  MN=
   1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                 What do you intend to do with the property that   Did you claim the property
                                                                                                 riaht?                                   as exempt on scharinle. C?

          Creditor's                                                                         Surrender the property.                      CI No
          name:                Phh Mortgage
                                                                                        U Retain the property and redeem it.              1.t Yes
                     ur Single family t-ioirie
          property
                                                                                        0 Retain the property and enter into a
                         1849 Oakmont Drive                                                  Reaffirmation Agreement.
          securing debt:
                         Atlanta, GA 30314                                                   Psetain tlia property and [explain]: Work
                                                                                              loan modification agreement

          Creditor's
                                    CA f
                               Cerli^       sce
                                                                                        0    Surrender the property.                      GI No
          name.
                                                                                        id Retain the property and redeem it.             Ig Yes
          uescription ot Single Family Home
          propedy
                                                                                        CI Retain the property and enter into a
                         51 Church Road                                                      Reaffirmation Agreement.
          securing debt:
                                    Stockbridge., GA 30281                                  • rcetain me property and [explain]:



          Creditor's                                                                         Surrender the property.                      0 No
          name:
                                                                                             Retain the property and redeem it.           U Yes
                   IIALIVI I   vi
          property
                                                                                        0    Retain the property and enter into a
          securiIIg debt:                                                                    Reaffirmation Agreement.
                                                                                             Rotalri thc prcperty ond (cxplt:ln]:


           Creditor's                                                                   D Surrender the property.                         U No
           name:
                                                                                        U Retain the property and redeem it.              U Yes
          Description of
                                                                                             Ketain the property and enter into a
          property
          securing debt:                                                                     Reaffirmation Agreement.
                                                                                        0    Retain the property and fexplainl:



   Official Form 106                                 Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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                                                               Document     Page 46 of 53
                                                                                                                 tzcoon
Debtor 1
                   A
                  r‘i igv                                          Morgan           Case number (If known) `-' - ‘ Jut-3(-)
                 First Name        Middle Name     Last Name




                 List Your Unexpired Personal Property'

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired persona: property- :G.1456 if the trustee doss not assume it. 11 U.S.C. ; 3654.1)(2).

       Describe your unexpired personal property leases                                                            Wili the lease be assumed?

      Lessor's name:                                                                                               U No
                                                                                                                      Yes
      DUScripliUn 011Uabeij
      property:


      Lessor's name:                                                                                               D No
                                                                                                                   U Yes
      Description of leased
      property:


      Lessor's name:                                                                                               U No
      Dc.scription of Icasocl                                                                                         yaa
      property:

      ---
      Lessor's name:                                                                                                  Mn

                                                                                                                      Yes
      Description of leased
      Foporty:


      Lessor's name:                                                                                               U No
                                                                                                                   U Yes
      Description of leased
      property:
      A-            ^
      Lessor's name:                                                                                               U No
                                                                                                                   U Yes
      Description of leased
      property:

      ^                           ^ ^
       Lessor's name:


       Description of leased
       property:




 NNE
 ma i arimi Sign RGIOW
 11111=


     Linder penalty of perjury, ! d2rtl2r0 that! have Indle2t2d my intention about any prn-arly
                                                                                              , of my AQtAtA that AfartntAA a debt And any
     Personal property that is subiect to an unexpired lease.



                              t         ,
      Signatur of Debtor 1                                          Signature of Debtor 2

      Date   f2 Vte               7,0       2P                      Date
             r   / DD /                                                    MM! DD/    YYYY




Olticial I-orm 108                               Statement ot Intention tor Individuals Filing Under Chapter 7                       page 2
                                                                       armiromesoma                                         111111111111TMR111111111
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 Fill in this information to identify your case:


 Debtor 1           Angela                 M.                      Morgan
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Lest Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number           20-65889                                                                                                    LI Check if this is an
                    Of known)                                                                                                         amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                Your assets
                                                                                                                                Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                    0.00
   la. Copy line 55, Total real estate, from Schedule A/B


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                             5,450.00

    lc. Copy line 63, Total of all property on Schedule A/B                                                                                  5,450.00


Part 2:        Summarize Your Liabilities



                                                                                                                                 Your liabilities
                                                                                                                                 Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                         250,000.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                    0.00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                       39,500.00
                                                                                                                                 + $


                                                                                                       Your total liabilities            289,500.00


Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                    0.00
    Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J
                                                                                                                                             3,900.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                     page 1 of 2
              Case 20-65889-pmb                    Doc 10       Filed 05/07/20 Entered 05/14/20 12:33:19                             Desc Main
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   Debtor 1        Angela                     M.                  Morgan                        Case number (If known)   20-65889
                   First Name   Middle Name        Lest Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   e. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       la   Yes


   7. What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
         this form to the court with your other schedules.


   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       0.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule F_/F:


                                                                                                         Total claim


        From Part 4 on Schedule F_/F, copy the following:


                                                                                                         $                 0.00
       9a.Domestic support obligations (Copy line 6a.)


       9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00


                                                                                                         $                 0.00
       9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


                                                                                                         $                 0.00
       9d.Student loans. (Copy line 6f.)

       9e.Obligations arising out of a separation agreement or divorce that you did not report as        $                 0.00
          priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)         +$                   0.00

       9g.Total. Add lines 9a through 9f.                                                                                  0.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                            page 2 of 2
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                 Case 20-65889-pmb                  Doc 10      Filed 05/07/20 Entered 05/14/20 12:33:19                                            Desc Main
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Fill in this information to identify your case:


Debtor 1            Angela                       M.                        Morgan
                   First Name             Middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name            Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number            20-65889
 (If known)
                                                                                                                                                    U Check if this is an
                                                                                                                                                         amended filing


  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                              12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        51 No
        0 Yes.        Name of person                                                           . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct




          Signe ure oflUebtor 1                                            Signature of Debtor 2


          Date   42E/S-Cit?1°                                              Date
                                                                                   MM! DD /   YYYY




   Official Form 106Dec                                    Declaration About an Individual Debtor's Schedules

                                                                   1.111WIPMWMPBOROWNII                                                        IMMV7.1/REMEMI
              Case 20-65889-pmb                      Doc 10      Filed 05/07/20 Entered 05/14/20 12:33:19                                       Desc Main
                                                                Document     Page 50 of 53
 Fill in this information to identify your case:                                                             Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
 Debtor 1          Angela                     M.                 Morgan
                    I !Mt Name               F.II,lf.IC tiamn           I .1:41 Name
                                                                                                             El 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name                Last Name                            D 2. The calculation to determine ifs presumption of
                                                                                                                  abuse applies will be made under Chapter
 United States Bankruptcy Court for the: Northern District of Georgia                                             Means Test Calculation (Official Form 122A-2).
 Case number          20-65889                                                                               LI 3. The Means Test does not apply now because of
 (If known)
                                                                                                                   qualified military service but it could apply later.


                                                                                                                 Check if thiS is an amended      filing


Official FrIrrn 199A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
conra is naarlarl, fafflush a capnrzfa chant to this form. Include the lines number to which the additional information mooliaa. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement ofExemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                   Ca:ctgata Your Currant 11.1anth:y !nsaraa

        What is your marital and filing status? Check one oniy.
        LI Not married. Fill out Column A, lines 2-11.
        U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.•

         wa marnea ana your spouse is NOT iiiing with you. You and your spouse are:
              II     Living in the same household and are not                 separated. Fill out both Columns A and B, lines /-11.
                     Living separately or are legally separated. Hu out uoiumn A, lines 2-11; do not till out Uoiumn b. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(13).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.R.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be Mart 1 through
        August 31 If the amount of your monthly income varied durino the A months, add the income for all A months and divide the total by
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the spare.
                                                                                                                Column AI           Column ii
                                                                                                                DORA' 1             Debtor 2 or
                                                                                                                                    non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).
                                                                                                                         0.00
    3. Afirnony and                     paymont.s. DC not include payme.nts from a spouse if
                                                                                                                         U.UU
       Column B is filled in.
    4. All amounts from any source which are regularly paid for household expenses
       ot you or your dependents, Including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependants, parent*,
       and roommates. include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.
                                                                                                                $        0.00
    5. Net income from operating a business, profession,
                                                                        Debtor i           Debtor 2
       or farm
       Gross receipts (before all deductions)                                          0

        Ordinary and flrs          j operating expenses                 — $_0              —$
                                                                                                      Copy
        Net monthly income from a business, profession, or farm            $_00.0           $         here'+    $ 00.00
    6. Net income from rental and other real property                   Debts:xi. 1,,      Debtor 2
       Gross receipts (before all deductions)                             $ U.uu            $

        Ordinary and necessary operating expenses                       — $ 0.00 — $
                                                                                                      Ccpy
        Net monthly income from rental or other real property              $ 0.00           $                   $ 0.00
   I. Interest, dividends, and royalties                                                                        $      0.00


 Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                         page 1
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                                                                      Morgan                                                        on ,coon
Debtor 1         Angela                           RA
                                                                                                            Case number    knnwn)   4U-1/4."-"   JU
                First Name      Middle Name              Last Name


                                                                                                                 Column A                 Column B
                                                                                                                 Debtor 1                 Debtor 2 or
                                                                                                                                          non-filing spouse
   8. Unemployment compensation                                                                                      8      0.00
      Do riot enter the amount if you c.ontend that the amount received was a benefit
      under the socisl Security Act. Instead, list it hsrso
            For you                                                                       0.00
            For your spouse                                                               0.00
   9. Pension or retirement income. Do not include any amount received that was a
                under Um Smiai Satan                   execupi sta staled iii Lim ilexi saute:lux, tju
       not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
       disatility, or death of a member of the uniformed servicee. if you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not AXPC' Ad the amount of retired pay to which you wniiiri otherwise he entitled if
       retired under any provision of title 10 other than chapter 61 of that title.
                                                                                                                            0.00
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19): payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniformed
       services. If necessary, list other sources on a separate page and put the total below.
                                                                                                                     $      0.00                 $
                                                                                                                 $          0.00                 $
           Total amounts from separate pages, if any.                                                           +s          0.00          +$
                                                                                                                                                                 I
   1i. r.!A!ni..!!Rha your fr,tl newrent monthly !nComa. Add linos 9 thrre VI in for ARCh                       I.                                               I—                   I
       column. Then add the total for Column A to the total for Column B.                                            $      0.00 1               $               J- 1$ 0.00           I
                                                                                                                                --1 +1                —._. _,....,
                                                                                                                                                                     Total current
                                                                                                                                                                     monthly income

 PRI Determine Whether the Means Test Applies to You
   12.Calculate your current monthiy income for the year. Follow these steps:
       19a      Copy your total current monthly income from line 11.                                                                Copy line ii here+

                multiply coy 12 (me number of montns in a year).                                                                                                     x 12
       12b.     The result is your annual income for this part of the form.                                                                               12b.   I   $        Roo

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill I,, the state in v.'hich y0:: iive.                              C4A


       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                                             13.    1   $     50,0128 I
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How go tne lines compare?


       14a.        Lino 12b, is loss than or cqual to !Inc 13. .Ori izho :4op of pogo 1, ct.colt box 4., TIL;cro. i.s    prosomptio,1 of obusc.
                   Go to Part 3. Do NOT fill out or file Official Form 122A-2



              . Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
       14b.L-.1
                    tn Port 3 'n14 fill nut Fr‘rrn 199A-9.




Official Form 122A-1                                   Chapter 7 Statement of Your Current Monthly Income                                                                page 2
           Case 20-65889-pmb                         Doc 10       Filed 05/07/20 Entered 05/14/20 12:33:19                                      Desc Main
                                                                 Document     Page 52 of 53

                                                                                                                                       ac0011
Debtor i      Angela                            M.                !VIVI yell I                         Case number (If known)
             First Name       Middle Name            Last Name



 icer
 iall in       Sion Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

               St                                                                               1C.
                    Signature or                                                                      Signature of Debtor 2

                    Date 0                                                                            Date
                             / D      / sn'YY                                                                MMI DD      /   Yri'Y

                    If you checked line 14a, do NOT fill out or file Form 122A-2.
                    If you checked line 14b, fill out Form 122A-2 and file it with this form.
 L.                                                                                                                      -4          M.--             -0




           Print                            Save As...                    Add Attachment                                                           Reset




Official Form 1221k-1                            Chapter 7 Statement of Your Current Monthly Income                                                   page 3
Case 20-65889-pmb   Doc 10    Filed 05/07/20 Entered 05/14/20 12:33:19                          Desc Main
                             Document     Page 53 of 53

                                                                                   t
                                               ORIGIN ID:YKNA            (470) 279-2213_ 1           SHIP DATE: 06MAY20                CI
                                               KEVIN PARKER                                          ACTWGT: 1.15 LB
                                                                                                     CAD: 69880661SSFE2110             131
                                               3455 ELLINGTON WAY
                                               ATLANTA, GA 30349                                     BILL CREDIT CARD
                                                                                                                                       I.
                                               UNITED STATES US.

                                              TO      ATTN: BANKRUPTCY CLERK
                                                      UNITED STATES BANKRUPTCY
                                                      75 TED TURNER DR SW
                                                      RM 13                                                                            h]




                                                      ATLANTA GA 30303.
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